       Case 2:23-cv-01187-DLR Document 53 Filed 09/29/23 Page 1 of 2



 1
 2
 3
 4
 5
 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Houston Specialty Insurance Company,               No. CV-23-01187-PHX-DLR
10                  Plaintiff,                          ORDER
11   v.
12   Leah Rekowski, et al.,
13                  Defendants.
14
15
16          After review of the docket, the Court notes that Defendants Robert Dale Fogel and

17   Mikal Fogel were served on July 15, 2023, and Defendants Edurance American Insurance
18   Company and Regional Fire & Rescue Department Incorporated were served on July 15,

19   2023. As of the date of this order, no answer has been filed and no application for entry of

20   default has been made.
21          IT IS ORDERED that counsel for Plaintiff shall file a status report within 7 days
22   of the date of this Order concerning the status of its case against these Defendants.

23          IT IS FURTHER ORDERED that the Clerk of the Court shall terminate
24   Defendants Robert Dale Fogel, Mikal Fogel, Edurance American Insurance Company, and
25   Regional Fire & Rescue Department Incorporated without further order of the Court, if
26   ///
27   ///
28   ///
       Case 2:23-cv-01187-DLR Document 53 Filed 09/29/23 Page 2 of 2



 1   Plaintiff fails to file either a status report or an application for entry of default within the
 2   timeframe specified herein.
 3          Dated this 29th day of September, 2023.
 4
 5
 6
 7
                                                     Douglas L. Rayes
 8                                                   United States District Judge
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                  -2-
